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                        UNITED STATES DISTRICT COURT
                         DISTRICT OF MASSACHUSETTS
______________________________________________________
DENNIS MEDINA,                                         :
     Plaintiff,                                        :
                                                       :
v.                                                     : C.A. No.: 07-10985-RCL
                                                       :
JAMES COADY, WILLIAM K. CONLON, and THE CITY :
OF BROCKTON,                                           :
            Defendants.                                :
______________________________________________________:

         DEFENDANT JAMES COADY’S OPPOSITION TO PLAINTIFF
    DENNIS MEDINA’S MOTION FOR ATTACHMENT OF DEFENDANT’S REAL
                             PROPERTY

       Now comes the Defendant James Coady (hereinafter “Coady”) and opposes Plaintiff’s

Motion for Attachment of Defendant’s Real Property. In support of this opposition, the

Defendant states the following:

                                         BACKGROUND

       Plaintiff’s Complaint contains allegations against Coady stemming from an incident on

April 26, 2006. On April 26, 2006, Coady arrested Plaintiff for trespassing on his property.

Plaintiff alleges that Coady violated his fourth and fourteenth amendment rights to be free from

excessive force and false arrest and further violated his civil rights by means of threats,

intimidation and coercion in violation of the Massachusetts Civil Rights Act, M.G.L. c. 12, §11I.

The details of the arrest and events leading up to the arrest are discussed within Coady’s attached

affidavit1 and establish that Coady arrested Plaintiff pursuant to probable cause.

       Plaintiff filed the Motion for Attachment of Defendant’s Real Property, which forms the



       1
           Please see attached Affidavit of Defendant James Coady

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basis of this opposition, on April 10, 2008. Plaintiff’s motion seeks to attach real property

located at 10-12 Wampanoag Road, South Yarmouth, and currently valued at approximately

$314,000. Coady is not the owner of the property located at 10-12 Wampanoag Road, South

Yarmouth and has not been the owner since 2007. Plaintiff claims that he is likely to recover a

judgment in excess of the value of the property, making attachment appropriate. Plaintiff is not

likely to recover a judgment in excess of the value of the property.


                                           ARGUMENT

       Defendant Coady opposes and objects to plaintiff’s Motion for Attachment of

Defendant’s Real Property because Coady is not the owner of the property Plaintiff seeks to

attach and Plaintiff is not likely to recover a judgment in excess of the value of the property.

I.     PLAINTIFF’S MOTION FOR ATTACHMENT OF DEFENDANT’S REAL
       PROPERTY SHOULD BE DENIED BECAUSE DEFENDANT COADY IS NOT
       THE OWNER OF THE PROPERTY WHICH PLAINTIFF SEEKS TO ATTACH

       As discussed in his affidavit, Coady is not the record owner of the property at 10-12

Wampanoag Road, South Yarmouth and has not been the record owner since 2007. The deed is

recorded at Book 22148, Page 45 in the Barnstable Registry of Deeds. Accordingly, Plaintiff’s

Motion for Attachment should be denied.

II.    PLAINTIFF’S MOTION FOR ATTACHMENT OF DEFENDANT’S REAL
       PROPERTY SHOULD BE DENIED BECAUSE PLAINTIFF IS NOT LIKELY TO
       RECOVER A JUDGMENT IN EXCESS OF THE VALUE OF THE PROPERTY

       Furthermore, Plaintiff’s Motion for Attachment should be denied because Plaintiff is not

likely to recover a judgment in excess of the value of the property.

       A.      Plaintiff’s Motion for Attachment of Defendant’s Real Property Should be
               Denied because Plaintiff is Not Likely to Prevail on the Merits


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       The Federal Rules of Civil Procedure provide that attachment of real property may be

authorized “under the circumstances and in the manner provided by the law of the state in which

the district court is held.” Fed.R.Civ.P. 64. Under Massachusetts law, a Plaintiff seeking to

obtain an attachment must show (1) reasonable likelihood of success on merits, and (2)

reasonable likelihood of recovering judgment equal to or greater than amount of attachment

sought that is (3) over and above any liability insurance shown by defendant to be available to

satisfy judgment. Greenbriar Companies, Inc. v. Springfield Terminal Railway, 477 F.Supp.2d

314, 317 (D.Mass. 2007) (citing Int’l Ass’n of Bridge, Structural and Ornamental Iron Workers

v. Burtman Iron Works, Inc., 164 F.R.D. 305, 306-07 (D.Mass. 1995). The Plaintiff’s motion

should be denied because Coady’s arrest of Plaintiff was made pursuant to probable cause and

accordingly Plaintiff is not likely to prevail on the merits of his claims.

       As outlined in Coady’s attached affidavit, Coady asked Plaintiff to leave his property on

at least two separate occasions and on the second occasion informed Plaintiff that he was

trespassing. Plaintiff refused to leave on both occasions. The second time that he was asked to

leave, Plaintiff pushed Coady and informed Coady that he was not leaving. At this point, Coady

had probable cause to arrest the Plaintiff. As described in Coady’s affidavit, Coady did not have

handcuffs available to him at the time of the arrest. As he was unable to detain the Plaintiff with

handcuffs, Coady needed to engage the Plaintiff physically in order to effectuate the arrest

because the Plaintiff continued to push him. Considering the totality of the circumstances,

Coady acted in an objectively reasonable manner by physically engaging Plaintiff. By pushing

Coady, Plaintiff was posing an immediate threat to Coady’s safety and also actively resisting

arrest. See Graham v. Connor, 490 U.S. 386, 396-97 (1989).


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       Plaintiff incorrectly relies on the fact that he sustained injuries during his arrest on April

26, 2006 to support his claim that he is likely to prevail on the merits. Coady was making a valid

arrest of the Plaintiff pursuant to probable cause. An officer is entitled to use the force necessary

to effectuate that arrest as long as that force is objectively reasonable under the circumstances.

Graham, 490 U.S. at 397. As described in Coady’s affidavit, Plaintiff engaged Coady in a

physical struggle by pushing him, making it difficult to effectuate the arrest. It was necessary for

Coady to continue to engage him physically at this point and any injuries sustained by Plaintiff

during this struggle were not the result of unreasonable force, but the result of the force necessary

to effectuate a valid arrest made pursuant to probable cause.

       Plaintiff also claims that because the criminal charges brought against him were

dismissed he is likely to succeed on the merits. This claim is unfounded because the standard for

probable cause is lower than that required to convict an individual in a criminal case. See

Maryland v. Pringle, 540 U.S. 366, 371 (2003). Success in a criminal case does not necessarily

imply that the underlying arrest lacked probable cause, therefore, Plaintiff’s success in the

underlying criminal case does not indicate a likelihood of success on the merits. See id.

Furthermore, the criminal charges against Plaintiff were dismissed because Coady chose not to

testify; the criminal case was never decided on its merits.

       B.      Plaintiff’s Motion for Attachment of Defendant’s Real Property Should be
               Denied because Plaintiff Is Not Likely to Recover an Amount Equal to or
               Greater than the Amount of Attachment

       As previously discussed, Plaintiff is not likely to succeed on the merits of his case and

accordingly is unlikely to recover anything.

       Assuming arguendo that Plaintiff is able to succeed on the merits, Plaintiff is not likely to


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recover an amount equal to or greater than the attachment. Plaintiff seeks to attach property with

an estimated value of $314,000. In support of his claim that he is likely to recover an amount

equal to or greater than the attachment Plaintiff states that his attorney’s fees “may easily total

more than $50,000” and that to date his medical expenses total $4,000 (Memorandum in Support

of Plaintiff’s Motion for Attachment of Defendant’s Real Property, p. 4)(emphasis added).

Attorney’s fees and medical bills are Plaintiff’s only damages with ascertainable values. While

Plaintiff claims that he may be entitled to future medical expenses, he fails to describe these

future medical expenses and does not provide any estimates of their value.

       Instead, Plaintiff relies heavily on his assumption that he will likely be awarded

substantial punitive damages. Taking the approximate totals for his attorney’s fees and medical

bills into account, Plaintiff would need to recover significant punitive damages to recover a value

equal to or greater than the estimated value of the property. His only basis for claiming that he is

likely to recover punitive damages are his unsupported assertions that Coady acted egregiously

and intentionally. Aside from the fact that Coady acted reasonably and pursuant to probable

cause, it is difficult to assert that one is likely to recover a certain amount of punitive damages.

While attorney’s fees and medical expenses may be calculated leading to reasonable estimates for

recovery of compensatory damages, values for punitive damages are not so easily ascertained.

Even after tripling the approximately $54,000 in attorney’s fees and medical bills that Plaintiff is

able to calculate, his damages are still a far cry from the $314,000 necessary to be entitled to an

attachment. Accordingly, Plaintiff has failed to demonstrate that he is likely to recover an

amount equal to or greater than the attachment.




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        WHEREFORE, plaintiff’s Motion for Attachment of Defendant’s Real Property should

be denied.




                                                          THE DEFENDANT
                                                          James Coady
                                                          By his attorney

                                                          /s/ Austin M. Joyce
                                                          _______________________________
                                                          Austin M. Joyce, Esq.
                                                          REARDON, JOYCE & AKERSON, P.C.
                                                          397 Grove Street
                                                          Worcester, MA 01605
                                                          (508) 754-7285
                                                          BBO#: 255040




                                     CERTIFICATE OF SERVICE

         I hereby certify that this document filed through the ECF system will be sent electronically to the
registered participants as identified on the Notice of Electronic Filing (NEF) and paper copies will be
sent to those indicated as non registered participants on April 23, 2008.


                                                         /s/ Austin M. Joyce
                                                  By:____________________________
                                                         Austin M. Joyce




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